Case 4:16-cV-00949 Document 1-1 Filed in TXSD on 04/07/16 Page 1 of 17

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Chris Danie| - Distrid C|erk Harris County
Enve|ope No. 9193508

By: Krysta| Frankiin

FHed: 2/1812016 5;56:39 PM

NO.

JORGE CEDILLO AND CHRISTINE
CEDILLO
Plaintiffs,

IN THE DISTRICT COURT

V. JUDICIAL DISTRICT

LIBERTY MUTUAL _INSURANCE

COMPANY and `

MARSHALL LEE DRAKE
Defendants.

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HARRIS COUNTY, TEXAS

PLAlNTIFFS’ ORIGINAL PETITION AND
INITIAL WRITTEN DISCOVERY REQ_UESTS

Pursuant to the Texas Rules of Civil Procedure, Plaintiffs, Jorge Cedillo and Chn`stine
Cedillo, file this On'ginal Petition and Initial Written Discovery Requests, complaining of the acts
and omissions of Defendants, Liberty Mutual lnsurance Cornpany and Marshall Drake, and, in
support, respectfully shows the Court as follows:

I.
DISCOVERY CONTROL PLAN

1. This case is intended to be governed by Discovery Level 2.

II.
PARTIES & SERVICE

2. Jorge Cedillo and Christine Cedillo (“Plaintiffs”) reside in Harn`s County, Texas.

3. Defendant Liberty Mutual Insurance Company (“LIBER'I'Y MUTUAL”) is an
insurance company doing business in Texas that may be served by service through its Registered
Agent, Corporation Service Company, 211 East 7th Street Suite 620, Austin TX 78701 -3218.

4. Defendant, Marshall Lee Drake (“Drake”), is an individual who assisted with
adjusting the claim at issue and is a resident of the State of Texas. This Defendant may be served

with process at 2368 East Co Rd 100 N, Paoli, IN 47454 or wherever he may be found.

PLAINTIFF’S ORIGINAL PETITION AND
lNTI`IAL WRIT'I'EN DISCOVERY REQUESTS

PAGE 1 l

     
   

DEFENDANT’s '
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lII.
JURISDICTION & VENUE

5. This court has subject matter jurisdiction of this cause of action because it involves
an amount in controversy in excess of the minimum jurisdictional limits of this Court. No diversity
of citizenship exists in this matter.

6. Plaintitfs prefer to have the jury determine the fair amount of compensation for
Plaintiffs’ damages, it is early in the case to be assessing the hill nature and scope of Plaintiffs’
damages, and Plaintiffs place the decision regarding the amount of compensation to be awarded in
the jury’s hands. Rule 47 of the Texas Rule of Civil Procedure, however, requires Plaintiffs to
provide a statement regarding the amount of monetary relief sought. Accordingly, pursuant to
Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek monetary relief between
3100,000.00 and $500,000.00.

7. Venue is proper in Harris County, Texas because the insured property is situated in
Han'is County, Texas and/or the contract was signed in Ham's County, Texas. Tex. Civ. Prac. &
Rem. Code § 15.002.

IV.
FACTS

8. Plaintiffs are named insured under a property insurance policy (the “Policy”) is sued
by LIBERTY MUTUAL. The Policy insures, among other things, against losses from wind and
hail damage to Plaintifr‘ s property, namely, the real property and improvements located 13927
Blazey Dr., Houston, TX 77041 (the “Property").

9. On or about April 19, 20]5, during the policy period, a storm caused covered

damage to the Subject Property. Specifically, the storm damaged Plaintiffs’ roof.

PLAIN'l`IFF’S ORIGINAL PE'I`ITION PAGE 2

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10. Shortly alter the storm, plaintiii`s noticed damage to their home. They contacted
LIBERTY MUTUAL by telephone to notify LIBERTY MUTUAL of the damage.

ll. Plaintifl`s submitted a claim to LIBERTY MUTUAL against the Policy for all roof
damage, structural damage, water damage, and wind damage the Property sustained as a result of
the storm.

12. Plaintiffs asked LIBERTY MUTUAL to honor its contractual obligations and cover
the cost of repairs to Plaintiffs’ home.

13. LIBERTY MUTUAL assigned Defendant Drake to adjust the Claim. Defendants
LIBERTY MUTUAL and Drake conducted a substandard investigation of Plaintiii`s’ claim, failed
to thoroughly investigate Plaintiffs’ losses, and spent an inadequate amount of time on the
investigation

l4. Despite obvious visible wind damage and multiple indentations in the roof caused
by wind and hail, Drake, on his own behalf and on behalf of LIBERTY MUTUAL, verbally
misrepresented to the Plaintiffs at the time of the inspection that there was minimal damage to their
property. Although Plaintiffs had interior damages, including but not necessarily limited to, garage
door, fence, den, breakfast area, and kitchen as a result of the wind and hail storm, Defendant
Drake misrepresented, on his own behalf to Plaintiffs that the damage to the roof that allowed the
water to leak into multiple areas of their home was minimal. Drake then misrepresented, again on
his own behalf and on behalf of LIBERTY MUTUAL in a letter to Plaintiffs dated April 30, 2015
that Plaintiffs’ home had sustained minor damage.

15. Together, Defendants LIBERTY MUTUAL and Drake set out to deny properly
covered damages by performing a results-oriented investigation of Plaintiffs’ claim, which resulted

in a biased, unfair, and inequitable evaluation of Plaintiffs’ losses on the Property.

PLAINTIFF’S ORIGINAL PETITION v PAGE 3

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16. Defendant LIBERTY MUTUAL failed to perform its contractual obligation to
adequately compensate Plaintiffs under the terms of the Policy. All conditions precedent to
recovery upon the Policy have been performed by Plaintiffs. LIBERTY MUTUAL’s conduct
constitutes a breach of the insurance contract between LIBERTY MUTUAL and PlaintiH`s.

17. Even though Plaintiffs’ home sustained obvious damages caused by a covered
occurrence, Defendants misrepresented to Plaintiii`s that the Policy did provide coverage for some
of the damage, thus falsely claiming Plaintiffs’ horne had not been damaged Defendants’ conduct
is a violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS. CODE
§541.060(a)(l).

18. Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner,
although they were aware of their liability to Plaintiffs under the Policy. Defendants’ conduct is a
violation of the Texas Insurance Code, Unfair Settlement Practic_es. TEX. lNS. CODE
§541 .060(a)(2)(A).

19. Defendants refused to adequately compensate Plaintiffs under the terms of the
Policy even though they failed to conduct a reasonable investigation of the claim. This conduct
violated the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(7).

20. Defendants failed to provide Plaintiffs With a reasonable explanation for the denial
of their claim. This conduct violated the Texas Insurance Code, Unfair Settlement Practices. TEX.
INS. CODE §541.060(a)(3).

21. Defendant LIBERTY MUTUAL failed to timely acknowledge Plaintiffs’ claim,
begin an investigation of the claim, and request all information reasonably necessary to investigate
Plaintiffs’ claim within the statutorily mandated time of receiving notice of the claim. This conduct

violated the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE §542.055.

PLAINT[FF’S ORIGINAL PETITlON PAGE 4

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22. Defendant LIBERTY MUTUAL failed to accept Plaintiifs’ full and entire claim
within the statutorily mandated time of receiving all the necessary information This conduct was
a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. lNS. CODE §542.056.

23. Defendant LIBERTY MUTUAL has delayed payment of Plaintiffs’ claim longer
than allowed, and, to date, Plaintiffs have not received any payment for their claim. This conduct
is a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE
§542.058.

24. Since the time Plaintiifs’ claim was presented to Defendant LIBERTY MUTUAL,
the liability of LIBERTY MUTUAL to pay the full claim in accordance With the terms of the
Policy has been reasonably clear. Nevertheless, LIBERTY MUTUAL has refused to pay, despite
there being no basis on which a reasonable insurance company would have relied to deny the
claim. This conduct is a violation of LIBERTY MUTUAL’s duty-of good faith and fair dealing.

25. All Defendants knowingly or recklessly made false representations, as described
above, as to material facts. Alternatively, all Defendants knowingly concealed all or part of
material information from Plaintiffs.

26. To date, Plaintiffs have yet to receive full payment for the damages to which
Plaintiffs are entitled under the Policy. Plaintiffs have suffered damages as a result of the
Defendants’ actions described above. The mishandling of Plaintiffs’ claim also caused a delay in
Plaintiffs’ ability to fully repair the Property, resulting in additional damages.

V.
CAUSES OF AC'I`lON

A. Breach of Contract (Against LIBERTY MUTUAL)
27. Defendant LIBERTY MUTUAL had a contract of insurance with Plaintiffs.

Plaintiffs met or performed all conditions precedent under the contract LIBERTY MUTUAL

PLAINTlFF’S ORIGINAL PETITlON PAGE 5

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breached the terms of that contract by wrongfully denying the claim and Plaintiffs were damaged
thereby.

28. Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs for breach of
contract.

B. Prompt Payment of Claims Statute (Agaiost LIBERTY MUTUAL)

29. The Claim is a claim under an insurance policy with Defendant LlBERTY
MUTUAL, of which Plaintiffs gave LIBERTY MUTUAL proper notice, causing LIBERTY
MUTUAL to be liable for the Claim.

30. Defendant LIBERTY MUTUAL violated the prompt payment of claims provisions
of the Tean Insurance Code, namely, section 542.051 et seq., by:

a. F ailing to acknowledge or investigate the claim or to request from Plaintiffs all
items, statements, and forms LIBERTY MUTUAL reasonably believed would
be required within the time constraints provided by Tex. Ins. Code § 542.055;

b. Failing to notify Plaintiffs in writing of its acceptance or rejecting of the Claim
within the applicable time constraints provided by Tex. Ins. Code § 542.056;
and/or v

c. Delaying payment of the Claim following LIBERTY MUTUAL’s receipt of all
items, statements, and forms reasonably requested and required, longer than the
amount of time provided by Tex. Ins. Code § 542.058.

31. Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs for damages In
addition to Plaintiffs’ claim for damages, Plaintiffs are further entitled to 18% interest and

attomeys’ fees as set forth in section 542.060 of the Tean Insurance Code.

PLAINTIFF’S ORlGINAL PETITION PAGE 6

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C. Unfair Settlement Practices/Bad Faith (Against All Defendants)
32. Each of the foregoing paragraphs is incorporated by reference in the following
33. As explained further herein, Defendants violated Tex. lns. Code § 541.060(a) by
engaging in unfair settlement practices
Defendant LIBERTY MUTUAL
34. Defendant LIBERTY MUTUAL engaged in unfair settlement practices by: _

a. misrepresenting to Plaintiffs a material fact or policy provision relating to the
coverage at issue;

b. failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim after LIBERTY MUTUAL’s liability had become
reasonably clear; .

c. failing to promptly provide Plaintiifs with a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for the insurer’s
denial of a claim or offer of a compromise settlement of a claim;

d. failing within a reasonable time to affirm or deny coverage of a claim to
Plaintiffs or submit a reservation of rights to Plaintiifs; and

e. refusing to pay the claim without conducting a reasonable investigation with
respect to the claim.

35. Each of the aforementioned unfair settlement practices Was committed knowingly
by Defendant LIBERTY MUTUAL and was a producing cause of Plaintiffs’ damages LIBERTY
MUTUAL is therefore liable to Plaintiii`s for engaging in such unfair settlement practices and

causing Plaintiffs’ damages

PLAINTIFF’S ORlGINAL PETI'I'ION PAGE 7

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Defendant Drake

36. Defendant Drake was a contractor and/or adjuster assigned by Defendant
LIBERTY MUTUAL to assist with adjusting the Claim. Defendant Drake was charged with
investigating the Claim and communicated with Plaintiff about the Policy terms. Insurance
adjusters are “persons engaged in the business of insurance” under Tex. lns. Code 541 .001, et seq.,
and are individually liable for violations of the Texas lnsurance Code. See Liberty Mut. Ins. Co.
v. Garn'son Contractors, Inc., 966 S.W.Zd 481 486 (Tex. 1998).

37. Defendant Drake was tasked with the responsibility of conducting a thorough and
reasonable investigation of l’laintiEs’ Claim, including the discovery of covered damages and fully
quantifying covered damages to Plaintiffs’ Property.

38. Defendant Drake conducted a substandard, results-oriented inspection of the
Subject Property. As such, Drake failed to discover covered damages and/or fully quantify
covered damages to Plaintiffs’ Property, as required by the Policy and Texas law.

39. Further, Defendant Drake misrepresented material facts to Plaintiffs, that is, the
existence and true value of Plaintiffs’ covered losses. Additionally, Drake failed to provide
Plaintiffs with a reasonable explanation as to why LIBERTY MUTUAL was not compensating
Plaintiffs for the covered losses, or the true value thereof

40. Thus, Defendant Drake engaged in unfair settlement practices by:

a misrepresenting to Plaintiffs a material fact or Policy provision relating to the
coverage at issue;

b. failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim after LIBERTY MUTUAL’s liability had become

reasonably clear;

PLAIN'I`IFF’S ORIGINAL PETI'ITON PAGE 8

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c. failing to promptly provide Plaintiffs With a reasonable explanation of the
basis in the policy, in relation to the facts or applicable law, for LIBERTY
MUTUAL’s denial of a claim or offer of a compromise settlement of a claim;
and/or

d. failing to conduct a reasonable investigation of Plaintiffs’ Claim.

41 . Each of the aforementioned unfair settlement practices was committed knowingly
by Defendant Drake and was a producing cause of Plaintiffs’ damages Drake is therefore liable
to Plaintiffs for engaging in such unfair settlement practices and causing Plaintiffs’ damages.

D. DTPA (Against All Defendants)

42. Each of the foregoing paragraphs is incorporated by reference here fully.

43. At all material times herein, Plaintiffs were “consumers” who purchased insurance
products and services from Defendants, and the products and services form the basis of this action.

44. Defendants have violated the Tean Deceptive Trade Practices-Consumer
Protection Act (“DTPA”) in at least the following respects:

e. Defendants represented the Policy confers or involves rights, remedies, or
obligations which it does not have, or involve, or which are prohibited by law;

f. Defendants represented goods, products, or services had sponsorship, approval,
characteristics, uses, benths, or quantities they do not have;

g. Defendants failed to disclose information concerning goods or services which

- was known at the time of the transaction when such failure to disclose such
information was intended to induce Plaintiffs into a transaction Plaintiffs would

not have entered into had the information been disclosed;

PLAINTIFF’S ORIGINAL PETITION PAGE 9

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h. Defendants, by accepting insurance premiums but refusing without a reasonable
basis to pay benefits due and owing, engaged in an unconscionable action or
course of action prohibited by DTPA § l7.50(a)(1)(3) in that Defendants took
advantage of Plaintitfs’ lack of knowledge, ability, experience, and capacity to
a grossly unfair degree, resulting in a gross disparity between the consideration
paid in the transaction and the value received, all in violation of Chapter 541 of
the Insurance Code;

i. Generally engaging in unconscionable courses of action while handling the
claim; and/or

j. Violating the provisions of the Texas Insurance Code, as further described
elsewhere herein.

45. As a result of Defendants’ violations of the DTPA, Plaintiff suffered actual
damages, and such violations were a producing, actual, and proximate cause of Plaintiffs’
damages Therefore, Defendants are liable to Plaintiffs for violations of the DTPA.

46. Further, Defendants knowingly and/or intentionally committed the acts complained
of herein, As such, Plaintiffs are entitled to exemplary and/or treble damages pursuant to the
DTPA and Tean Insurance Code § 541.152(a)-(b).

E. Breach of Duty of Good Faith and Fair Dealing (Against Liberty Mutual Insurance `
Company)

47. Defendant LIBERTY MUTUAL breached the common law duty of good faith and
fair dealing owed to Plaintiffs by denying or delaying payment on the Claim when LIBERTY
MUTUAL knew or should have known liability was reasonably clear. LIBERTY MUTUAL’s

conduct proximately caused Plaintiffs’ damages

PLAINTII"F’S ORIGINAL PE'[`ITION PAGE 10

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48. Defendant LIBERTY MUTUAL is therefore liable to Plaintiffs.
F. Attorneys’ Fees

49. Plaintiifs engaged the undersigned attorney to prosecute this lawsuit against
Defendants and agreed to pay reasonable attomeys’ fees and expenses through trial and any appeal.

50. Plaintiffs are entitled to reasonable and necessary attomeys’ fees pursuant to Tex.
Civ. Prac. & Rem. Code §§ 38.001~38.003 because Plaintiff is represented by an attorney,
presented the claim to Defendants, and Defendants did not tender the just amount owed before the
expiration of the 30th day after the claim was presented

51. Plaintiffs are additionally or alternatively entitled to recover reasonable and
necessary attomeys’ fees pursuant to Tex. Bus. & Com. Code § 17.50(d).

52. Plaintiffs are additionally or alternatively entitled to recover reasonable and
necessary attomeys’ fees pursuant to sections 541.152 and 542.060 of the Texas Insurance Code.

IX.
CONDITIONS PRECEDENT

53. All conditions precedent to Plaintiffs’ right to recover have been fully performed,
or have been waived by Defendants.

X.
JURY TRIAL DEMAND

54. Plaintiffs demand a jury trial of this cause, and has or will tender the appropriate

jury fee.

XI.
DISCOVERY REQUESTS

55. Pursuant to Ruie 194, all Defendants are requested to disclose, within fifty (50)

days after service of this request, the information or material described in Rule l94.2(a)-(l).

PLAINTIFF’S ORIGINAL PE'I`ITION PAGE ll

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56. All Defendants are also requested to respond to the attached discovery requests
within fifty (50) days in accordance to the instructions contained therein.

XII.
NOTICE OF INTENT TO USE DISCOVERY AT TRIAL

57. Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiffs hereby gives notice of
Plaintiffs’ intent to use all discovery instruments produced in this case at trial. Such discovery
instruments include, but are not limited to, all documents Defendants have or will produce in

response to Plaintiffs’ written discovery requests.

X[II.
CONCLUSION & PRAYER

F or these reasons, Plaintiffs pray that citations be issued and, upon final hearing of the case,
Plaintiffs recover all damages ii'orn and against Defendants that may reasonably be established by
a preponderance of the evidence, and Plaintiffs be awarded attomeys’ fees through trial and appeal, 4
costs of court, pre-judgment interest, post-judgment interest, and such other and finther relief,
general or special, at law or in equity, to which Plaintiffs may show themselves to be justly entitled.

Respectfully submitted,

  

 

Bryant Fitts
Texas State Bar No. 24040904
btitts tittslawfnm.com

Carla Delpit

Texas State Bar No. 24082183
cdelpit@tittslawfum.com
FlTl“S LAW FlRM, PLLC

2700 Post Oak Blvd., Suite 1120
Houston, Texas 77056
Telephone 713.871.1670
Facsimile 713.583.1492

ATTORNE¥s ron PLAINTlFFs

PLAINTIFF’S ORlGlNAL PETlTION PAGE 12

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CBRFURATlUIl SERVICE CUMPANY°

 

HZC / ALL

. . Transmittal Number: 14901727

Notlce of Servlce of Process mate Processed: 03/11/2016
Primary Contact: Bruce Bu't’tarO

Liberty l\/|utua| |nsurance Company
175 Berke|ey Street
Boston, |\/|A 02117

 

Entity:

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Liberty l\/|utua| insurance Company
Entity |D Number 1765547

Liberty |\/lutua| insurance Company

Jorge Cedi|lo vs. Liberty l\/|utua| insurance Company
Citation/Petition

Contract

Harris County District Court, Texas

201610536

Texas

03/11/2016

10:00 am Monday next following the expiration of 20 days after service
CSC

Personal Service

Carla Delpit
713-871-1670

lnformation contained on this transmittal form is for record keeping, notification and fowvarding the attached document(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

CSC is SAS70 Type ll certiiied for its Litigation Management System.
2711 Centervi||e Road Wi|mington, DE 19808 (888) 690~2882 | sop@cscinfo.com

 

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?JAINTIFF: CEDILLO, JORGE In The 152nd
vsl 7 Judicial District Court
DEFENDANT: LIBERTV Mnrnar rmsnppgqg C_M,_”g- cf galljg Cudu¢y' Texas
152ND DISTRICT CGURT
Houston, TX
CI?ATION

THE STATE OF TEXAS
County of Hazris

    
   
  

' : LIBERTY MUTUAL INSURANCE COMPANY MAY BE SERVED BY SERVING
TERED AGENT CORPORATION SERVICE COMPANY
211 EAST 7TH STREET SUITE 620 AUSTIN ix luiui J<lS

Attached is a copy of PLAINTIFF'$ 0RIGINAL PsTrTroN AND INITIAL nlscovnn! REQUESTS

  

This instrument was filed on the 18th day of Feb:ga:y, 2016, in the above cited cause number

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YOU HAVE BBEN SUBD, ¥ou may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by locOD a-m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against yon.

'ro orrrcsa sE'RvING:

This citation was issued on 24th day of February, 2016. under my hand and

seal of said Court.
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County at _____ o'clock ___.M., on the _____ day of ,
, by delivering to defendant, in person, a
true copy of this Citation together with the accompanying _____ copy(ies) of the Petition

attached thereto and I endorsed on said copy of the Citation the date of delivery.
To certify which I affix my hand officially this day of , .

FEE: 5

 

of County, Texas

ny
Affiant _ Depvry

 

 

On this day, , known to me to be the person whose
signature appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this day Of ,

 

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TO: DRP” MARSEALL LEE
OR WHEREVER HE M.Y

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and court. The instrument attached describes the claim aq" y u.

 
   

     

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Attached is a copy cf PLAINTEFF'S ORIGINAL PETITIO!

 

This instrument was f' .l.ed on the 18 h of F ru r' 2016 , in theo¢§~-'e cited cause number
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